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 1           Plaintiff Tatiana Von Slomski (“Plaintiff”), by and through her counsel, brings this Class Action

 2   Complaint against The Hain Celestial Group, Inc., on behalf of herself and all others similarly situated,

 3   and alleges, upon personal knowledge as to her own actions and her counsel’s investigations, and upon

 4   information and belief as to all other matters, as follows:

 5                                           NATURE OF THE CASE

 6           1.       This is a consumer protection and false advertising class action. Defendant The Hain

 7   Celestial Group, Inc. “Defendant”) markets, advertises, and distributes various teas under the Celestial

 8   Seasonings brand name, which it prominently advertises as “100% Natural.” (See, e.g., packaging

 9   depicted in Paragraphs 19-20.) The teas at issue are Sleepytime Herbal Tea, Sleepytime Kids

10   Goodnight Grape, Green Tea Peach Blossom, Green Tea Raspberry Gardens, Authentic Green Tea,

11   Antioxidant Max Dragon Fruit, Green Tea Honey Lemon Ginseng, Antioxidant Max Blackberry

12   Pomegranate, Antioxidant Max Blood Orange, and English Breakfast Black KCup (collectively, the

13   “Products”). These Products are not natural, but to the contrary contain pesticides, herbicides,

14   insecticides, carcinogens, and/or developmental toxins (collectively, “Contaminants”). Many of the

15   Products contain Contaminants in levels violating federal standards included in 40 CFR § 180, and

16   some contain Contaminants included in the current Proposition 65 list,1 for which no safe harbor limits

17   have been established. In short, the Products contain potentially dangerous Contaminants and are

18   most definitely not “100% Natural,” as claimed.

19           2.       Although the Products are not “100% Natural,” Defendant prominently labels every

20   box of the Products sold in the United States as “100% Natural.” Defendant does this because

21   consumers perceive all natural foods as better, healthier, and more wholesome. In fact, the market for

22   all natural foods has grown rapidly in recent years, a trend that Defendant exploits through its false

23   advertising.

24           3.       Plaintiff brings claims against Defendant individually and on behalf of a class of all

25   other similarly situated purchasers of the Products for violations of California’s Consumers Legal

26   Remedies Act, Cal. Civ. Code § 1750, et seq., California’s Unfair Competition Law, Cal. Bus. & Prof.

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         Available at < http://oehha.ca.gov/prop65/prop65_list/Newlist.html> (last visited Oct. 3, 2013).
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 1   Code § 17200, et seq. (“UCL”), and for breach of express warranties. Plaintiff seeks an order

 2   requiring Defendant to, among other things: (1) cease the unlawful marketing; (2) conduct a corrective

 3   advertising campaign; and (3) pay damages and restitution to Plaintiff and Class members in the

 4   amounts paid to purchase the products at issue.

 5                                       JURISDICTION AND VENUE

 6           4.     The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

 7   1332(d)(2), because the proposed class has more than 100 members, the class contains at least one

 8   member of diverse citizenship from Defendant, and the amount in controversy exceeds $5 million.

 9           5.     The Court has personal jurisdiction over Defendant because Defendant is authorized to,

10   and conducts substantial business in, California, generally and this District, specifically. Defendant

11   has marketed, promoted, distributed, and sold the Products in California.

12           6.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2), because a

13   substantial part of the events and omissions giving rise to this action occurred in this District as

14   Defendant distributes the Products for sale within this District.

15                                                   PARTIES

16           7.     Plaintiff is a resident of Aliso Viejo, Orange County, California. Plaintiff has

17   purchased several Products in California within the past four years in reliance on Defendant’s

18   representations that the Products were “100% Natural.” Specifically, within the past four years,

19   Plaintiff purchased Products including Sleepytime Herbal Tea at retailers such as Vons and Ralphs.

20   Prominently on each of the Products’ labels appeared the words “100% Natural Teas.” This

21   representation was material to Plaintiff’s decision to make these purchases. Plaintiff was willing to

22   pay for the Products because of the representations that they were “100% Natural” and would not have

23   purchased the Products, would not have paid as much for the Products, or would have purchased

24   alternative products in absence of the representations, or with the knowledge that the Products

25   contained Contaminants. As a result of purchasing a product in reliance on advertising that was false,

26   Plaintiff has suffered injury in fact and lost money as a result of the unfair business practiced alleged

27   here.

28           8.     Defendant Hain Celestial Group, Inc., is a publicly traded (NASDAQ: HAIN)

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 1   Delaware corporation with its principal place of business at 1111 Marcus Avenue, Lake Success, New

 2   York 11042. Defendant notes that it “participates in almost all natural food categories with well-

 3   known brands that include Celestial Seasonings® [and others]” http://ir.hain-

 4   celestial.com/phoenix.zhtml?c=87078&p=irol-irhome (last accessed Oct. 23, 2013). Upon information

 5   and belief, Defendant’s Celestial Seasonings division is based at 4600 Sleepytime Drive, Boulder,

 6   Colorado 80301. Defendant maintains a registered office in California at the Corporation Service

 7   Company, 2710 Gateway Oaks Drive, Suite 150N, Sacramento, California 95833. Defendant

 8   distributes the Products to consumers throughout California and throughout the United States.

 9                                    SUBSTANTIVE ALLEGATIONS

10        9.        The Products at issue are 10 types of tea. Throughout the Class Period, Defendant has

11   prominently labeled and otherwise advertised the Products as “100% Natural.”

12        10.       As widely reported following publication of testing of the Products by Eurofins, a

13   highly regarded, accredited, and independent testing lab (the “Eurofins Tests”), each of the Products

14   has been found to contain significant levels of one or more of the following Contaminants, described

15   on information and belief as follows:

16                  a.     Buprofezin. Buprofezin is a synthesized chemical insecticide developed by the

17          Dow Chemical Company (“Dow”) and marketed by Dow as “Applaud.” Due to safety

18          concerns, the US government has set tolerances for residues of Buprofezin with regard to

19          certain agricultural commodities, generally in the range of a fraction of a part per million, in 40

20          C.F.R. § 180.511. Buprofezin was found to have a variety of deleterious effects on rodents

21          exposed to it in a variety of controlled studies, including increased incidences of lesions and

22          tumors on rodents’ livers, adverse liver and thyroid gland effects at relatively low doses, and

23          adverse developmental and reproductive effects including decreased pup weight. See, e.g.,

24          <http://pmep.cce.cornell.edu/profiles/insect-mite/abamectin-

25          bufencarb/buprofezin/applaud70_reg_0503.html> (last visited Oct. 7, 2013). Buprofezin is a

26          man-made chemical, and is not naturally occurring or “natural” in any sense of the word.

27                  b.     Carbendazim. As described by the U.S. Environmental Protection Agency

28          (“EPA”), Carbendazim is “a fungicide approved for use in paints, adhesives, textiles, and

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 1         ornamental trees. It is not approved for use on foods in the U.S.”

 2         <http://www.epa.gov/pesticides/factsheets/chemicals/carbendazim-fs.htm> (last visited Oct. 4,

 3         2013). Thus, Carbendazim in food products is unlawful under the Federal Food, Drug, &

 4         Cosmetic Act, including under 21 U.S.C. § 346a. See also 40 C.F.R. § 180.3 et seq. (omitting

 5         Carbendazim from pesticides approved for food in quantities deemed safe by the EPA).

 6         Carbendazim is identified as a hazardous waste under federal regulations, including 40 CFR

 7         § 261.33. Carbendazim is a man-made chemical, and is not naturally occurring or “natural” in

 8         any sense of the word.

 9                c.      Chlorpyrifos-ethyl. Chlorpyrifos-ethyl, also known as Chlorpyrifos or as

10         Dursban, is a potent neurotoxin used as a pesticide. Dow developed and introduced this

11         unnatural chemical in or about 1965. Tolerances for residues of Chlorpyrifos-ethyl are set with

12         regard to certain agricultural commodities in 40 C.F.R. § 180.342, which also mandates strict

13         controls for application of this unnatural chemical. Chlorpyrifos-ethyl has been the subject of

14         much litigation, including an action by the New York Attorney General regarding Dow’s

15         marketing of Chlorpyrifos-ethyl as safe, which resulted in a $2 million payment by Dow to the

16         state of New York. Chlorpyrifos-ethyl is a man-made chemical, and is not naturally occurring

17         or “natural” in any sense of the word.

18                d.      Chlorfenapyr. Chlorfenapyr is a synthesized chemical insecticide and, due to

19         safety concerns, the US government has set tolerances for residues of it on or in certain

20         agricultural commodities, generally in the range of one part per million, in 40 C.F.R.

21         § 180.513. Chlorfenapyr is a man-made chemical, and is not naturally occurring or “natural” in

22         any sense of the word.

23                e.      Cyhalothrin lambda. Cyhalothrin lambda, or Lambda-cyhalothrin, is a

24         synthesized chemical insecticide and, due to safety concerns, the US government has set

25         tolerances for residues of it on or in certain agricultural commodities, generally in the range of

26         one part per million, in 40 C.F.R. § 180.438. Cyhalothrin lambda is a man-made chemical, and

27         is not naturally occurring or “natural” in any sense of the word.

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 1                f.      Cypermethrin. Cypermethrin is a synthesized chemical insecticide and, due to

 2         safety concerns, the US government has set tolerances for residues of it on or in certain

 3         agricultural commodities, generally in the range of one part per million, in 40 C.F.R.

 4         § 180.418. Cypermethrin is a man-made chemical, and is not naturally occurring or “natural”

 5         in any sense of the word.

 6                g.      p,p’-DDT. P,p’-DDT, or p,p’-Dichlorodiphenyltrichloroethane (DDT)

 7         (CASRN 50-29-3), is an isomer and the major component of commercial DDT, an unnatural

 8         chemical insecticide that had well-known and highly negative environmental impacts,

 9         including damage to many bird species (including the Bald Eagle) when such animals

10         accumulated the chemical in their bodies through diet. DDT has been banned in US

11         agriculture since 1972, and is classified as a “probable human carcinogen” by the EPA.

12         <http://www.epa.gov/iris/subst/0147.htm> (last visited Oct. 4, 2013). It also is classified as a

13         chemical “known to the State [of California] to cause cancer or reproductive toxicity,” and is

14         included on California’s Proposition 65 list.

15         <http://oehha.ca.gov/prop65/prop65_list/files/P6509272013.pdf> (last visited Oct. 7, 2013).

16         The EPA has not set tolerances for DDT in food products and thus its presence is unlawful

17         under the Federal Food, Drug, & Cosmetic Act, including under 21 U.S.C. § 346a. See also 40

18         C.F.R. § 180.3 et seq. (omitting DDT from pesticides approved for food in quantities deemed

19         safe by the EPA). P,p’-DDT is a man-made chemical, and is not naturally occurring or

20         “natural” in any sense of the word.

21                h.      Diazinon. Diazinon is a synthesized chemical insecticide, and tolerances for

22         residues of it are set with regard to certain agricultural commodities in 40 C.F.R. § 180.153.

23         Diazinon is a man-made chemical, and is not naturally occurring or “natural” in any sense of

24         the word.

25                i.      Dimethachlor. Dimethachlor is a synthesized chemical pesticide. The EPA

26         has not set tolerances for Dimethachlor in food products and thus its presence is unlawful

27         under the Federal Food, Drug, & Cosmetic Act, including under 21 U.S.C. § 346a. See also 40

28         C.F.R. § 180.3 et seq. (omitting Dimethachlor from pesticides approved for food in quantities

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 1         deemed safe by the EPA);

 2         <http://ec.europa.eu/food/plant/protection/evaluation/existactive/dimethachlor.pdf> (containing

 3         European Union’s report on Dimethachlor). Diazinon is a man-made chemical, and is not

 4         naturally occurring or “natural” in any sense of the word.

 5                j.      Dimethoate. Dimethoate is a synthesized chemical insecticide, and tolerances

 6         for residues of it are set with regard to certain agricultural commodities in 40 C.F.R. § 180.204.

 7         Dimethoate is a man-made chemical, and is not naturally occurring or “natural” in any sense of

 8         the word.

 9                k.      Endosulfan. Endosulfan is a synthesized chemical insecticide, and is a

10         chemical cousin of DDT that mimics the female hormone estrogen in the human body.

11         Tolerances for residues of Endosulfan are set with regard to certain agricultural commodities in

12         40 C.F.R. § 180.182. Endosulfan is a man-made chemical, and is not naturally occurring or

13         “natural” in any sense of the word.

14                l.      Fludioxonil. Fludioxonil is a synthesized chemical insecticide and, due to

15         safety concerns, the US government has set tolerances for residues of it on or in certain

16         agricultural commodities in 40 C.F.R. § 180.516. Fludioxonil is a man-made chemical, and is

17         not naturally occurring or “natural” in any sense of the word.

18                m.      Fipronil. Fipronil is a synthesized chemical insecticide and, due to safety

19         concerns, the US government has set tolerances for residues of it on or in certain agricultural

20         commodities in 40 C.F.R. § 180.517. Fipronil is a man-made chemical, and is not naturally

21         occurring or “natural” in any sense of the word.

22                n.      Hexaflumuron. Hexaflumuron is a synthesized chemical pesticide owned,

23         manufactured, and marketed by Dow, primarily for termite control.

24         <http://msdssearch.dow.com/PublishedLiteratureDOWCOM/dh_0886/0901b80380886a87.pdf

25         ?filepath=productsafety/pdfs/noreg/233-00932.pdf&fromPage=GetDoc> (last visited Oct. 7,

26         2013). The EPA has not set tolerances for Hexaflumuron in food products and thus its

27         presence is unlawful under the Federal Food, Drug, & Cosmetic Act, including under 21

28         U.S.C. § 346a. See also 40 C.F.R. § 180.3 et seq. (omitting Hexaflumuron from pesticides

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 1         approved for food in quantities deemed safe by the EPA). Hexaflumuron is a man-made

 2         chemical, and is not naturally occurring or “natural” in any sense of the word.

 3                o.      Imidacloprid. Imidacloprid is a synthesized chemical insecticide and, due to

 4         safety concerns, the US government has set tolerances for residues of it on or in certain

 5         agricultural commodities in 40 C.F.R. § 180.472. Imidacloprid is a man-made chemical, and is

 6         not naturally occurring or “natural” in any sense of the word.

 7                p.      Malathion. Malathion is a synthesized chemical insecticide and, due to safety

 8         concerns, the US government has set tolerances for residues of it on or in certain agricultural

 9         commodities in 40 C.F.R. § 180.111. Malathion is a man-made chemical, and is not naturally

10         occurring or “natural” in any sense of the word.

11                q.      Profenofos. Profenofos is a synthesized chemical insecticide and, due to safety

12         concerns, the US government has set tolerances for residues of it on or in certain agricultural

13         commodities in 40 C.F.R. § 180.404. Profenofos is a man-made chemical, and is not naturally

14         occurring or “natural” in any sense of the word.

15                r.      Permethrin. Permethrin is a synthesized chemical insecticide and, due to

16         safety concerns, the US government has set tolerances for residues of it on or in certain

17         agricultural commodities in 40 C.F.R. § 180.378. Permethrin is a man-made chemical, and is

18         not naturally occurring or “natural” in any sense of the word.

19                s.      Pyridaben. Pyridaben is a synthesized chemical insecticide and, due to safety

20         concerns, the US government has set tolerances for residues of it on or in certain agricultural

21         commodities in 40 C.F.R. § 180.494. Pyridaben is a man-made chemical, and is not naturally

22         occurring or “natural” in any sense of the word.

23                t.      Propachlor. Propachlor is a synthesized chemical herbicide and, due to safety

24         concerns, the US government has set tolerances for residues of it on or in certain agricultural

25         commodities in 40 C.F.R. § 180.211. Propachlor is classified as a chemical “known to the

26         State [of California] to cause cancer or reproductive toxicity,” and is included on California’s

27         Proposition 65 list. <http://oehha.ca.gov/prop65/prop65_list/files/P6509272013.pdf> (last

28         visited Oct. 7, 2013). Propachlor is a man-made chemical, and is not naturally occurring or

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 1         “natural” in any sense of the word.

 2                u.      Thiamethoxam. Thiamethoxam is a synthesized chemical insecticide and, due

 3         to safety concerns, the US government has set tolerances for residues of it on or in certain

 4         agricultural commodities in 40 C.F.R. § 180.565. Thiamethoxam is a man-made chemical, and

 5         is not naturally occurring or “natural” in any sense of the word.

 6                v.      Thiacloprid. Thiacloprid is a synthesized chemical insecticide and, due to

 7         safety concerns, the US government has set tolerances for residues of it on or in certain

 8         commodities, generally in the hundredth-of-a-part-per-million, in 40 C.F.R. § 180.594.

 9         Thiacloprid is a man-made chemical, and is not naturally occurring or “natural” in any sense of

10         the word.

11                w.      Triazophos. Triazophos is a synthesized chemical pesticide, which has been

12         found to cause cognitive dysfunction in controlled rat studies.

13         <http://www.ncbi.nlm.nih.gov/pubmed/23949197> (last visited Oct. 7, 2013). The EPA has

14         not set tolerances for Triazophos in food products and thus its presence is unlawful under the

15         Federal Food, Drug, & Cosmetic Act, including under 21 U.S.C. § 346a. See also 40 C.F.R. §

16         180.3 et seq. (omitting Triazophos from pesticides approved for food in quantities deemed safe

17         by the EPA). Triazophos is classified as a marine pollutant by federal regulations, including 40

18         CFR § 172.101, App. B. Triazophos is a man-made chemical, and is not naturally occurring or

19         “natural” in any sense of the word.

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 1          11.         The published Eurofins Tests revealed that the foregoing Contaminants were found in

 2     Defendant’s Products as follows:

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17          13.         In response to publication of the Eurofins Tests, Defendant posted a “Safety

18     Assurance” statement on its website assuring consumers that its teas are “safe” despite the adverse test

19     results, and boasting that Defendant sent the same types of teas to a different laboratory, identified as

20     the National Food Lab, for testing that “detected no pesticides in the brewed Celestial Seasonings teas

21     they tested.” <http://www.celestialseasonings.com/safety-assurance> (emphasis added) (last visited

22     Oct. 7, 2013).

23          14.         Defendant has not disclosed the actual test results on which it relied to issue its Safety

24     Assurance and, on information and belief, has claimed that the results constitute “proprietary

25     information.” <http://www.examiner.com/article/dangerously-high-pesticide-levels-found-celestial-

26     seasonings-teas> (last visited Oct. 9, 2013).

27          15.         Furthermore, the National Food Lab (NFL) proudly lists Celestial Seasonings as one of

28     its clients on its website, stating, ‘somewhere along the line, we have had a hand in their success.’” Id.;

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 1     see also <http://web.archive.org/web/20130501174523/http://www.thenfl.com/about-us/our-clients)

 2     (showing archived version of NFL website listing Celestial Seasonings among clients and including

 3     quoted language) (last visited Oct. 9, 2013).

 4           16.      Defendant’s misleading “Safety Assurance,” which does not directly deny the presence

 5     of pesticides, amounts to an admission by defendant that its teas contain unnatural, toxic pesticides,

 6     and thus are not “100% Natural,” as advertised.

 7           17.      In its Safety Assurance, Defendant also asserted that the Eurofins Tests were reported

 8     by a “short seller” that stood to profit if Defendant’s stock price declined as a result of publication of

 9     the Eurofins Tests. Defendant did not and could not, however, claim that Eurofins was biased or that

10     the Eurofins Tests were not, in fact, accurate.

11           18.      Despite the presence of these Contaminants in its Products, and despite Defendant’s

12     clear knowledge of the Contaminants, Defendant continues to prominently label the Products as

13     “100% Natural” just as it has at all relevant times before and after publication of the Eurofins Tests.

14           19.      Defendant incorporates its “100% Natural” claim into the very logo for its brand, which

15     appears on the outer packaging of the Products and elsewhere, as in the following example, taken from

16     Defendant’s website, at <http://www.celestialseasonings.com> on October 8, 2013:

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 1          20.      Defendant prominently displays this logo, including the “100% Natural” claim, on the

 2     outer packaging for the Products, as in the following examples:

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 1          21.       Defendant bolsters and repeats such “natural” claims through additional advertising,

 2     including its website. For instance, on its website, Defendant claims that:

 3            a.      “In 1969, a group of passionate young entrepreneurs founded Celestial Seasonings

 4                    upon the belief that their flavorful, all-natural herbal teas could help people live

 5                    healthier lives.” <http://www.celestialseasonings.com/about> (last visited Oct. 9,

 6                    2013) (emphasis added).

 7            b.      “For more than 40 years, we’ve traveled to the ends of the earth to find the highest

 8                    quality, most authentic ingredients for our teas – visiting over 35 different countries to

 9                    source more than 100 of the finest natural botanicals.”

10                    <http://www.celestialseasonings.com/our-tea> (last visited Oct. 9, 2013) (emphasis

11                    added).

12            c.      “For more than 40 years, we’ve made all-natural teas that are good for our people and

13                    good for our planet.” <http://www.celestialseasonings.com/our-values-our-tea> (last

14                    visited Oct. 9, 2013) (emphasis added).

15            d.      “Our ingredients come from all over the world these days, but our all-natural teas have

16                    always been created in our hometown of Boulder, Colorado.”

17                    <http://www.celestialseasonings.com/our-values-our-tea> (last visited Oct. 9, 2013)

18                    (emphasis added).

19            e.      “We started blending all-natural teas from herbs picked in the fields and forests of the

20                    Rocky Mountains back in 1969.”

21                    <http://www.celestialseasonings.com/products/sleepytime-teas> (last visited Oct. 9,

22                    2013) (emphasis added).

23            f.      “With a combination of simple ingredients, complex flavors and natural goodness,

24                    these teas are the perfect addition to a healthy diet and active lifestyle.”

25                    <http://www.celestialseasonings.com/products/green-teas> (last visited Oct. 9, 2013)

26                    (emphasis added).

27            g.      “In addition to natural herbs, teas, spices and botanicals, some of our teas use natural

28                    flavors to achieve their unique tastes. The natural flavors we use are derived from real

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 1                     ingredients and do not contain artificial or synthetic additives.”

 2                     <http://www.celestialseasonings.com/faqs> (last visited Oct. 9, 2013) (“What are

 3                     natural flavors?”) (emphasis added).

 4           22.       The Products are sold for approximately $3.99 per box containing 20 tea bags.

 5           23.       In comparison, some of Defendant’s competitors sell competing teas for as little as

 6     $2.50.

 7           24.       By consistently labeling the Products as “100% Natural,” Defendant ensures that all

 8     consumers purchasing the Products are exposed to its “100% Natural” claim.

 9           25.       However, the Contaminants are undeniably not natural in any way.

10           26.       Not only are the Contaminants specifically designed to kill pests and/or plants, raising

11     significant health and safety concerns (thus requiring the cited federal regulations designed to ensure

12     that the Contaminants do not appear in food products at all or in excess of levels deemed acceptable by

13     the EPA), but they are manufactured and patented by chemical companies such as Dow, with no claim

14     that they are “natural” in any way.

15           27.       For instance, Dow states that “Hexaflumuron is produced using a complex and

16     proprietary process involving a series of reaction and purification steps.”

17     <http://msdssearch.dow.com/PublishedLiteratureDOWCOM/dh_0886/0901b80380886a87.pdf?filepat

18     h=productsafety/pdfs/noreg/233-00932.pdf&fromPage=GetDoc> (last visited Oct. 8, 2013).

19           28.       On information and belief, each of the Contaminants is produced using similarly

20     complex processes that are or have been proprietary. None of the Contaminants are “natural.”

21                                        CLASS ACTION ALLEGATIONS

22           29.       Plaintiff seeks relief in her individual capacity and seeks to represent a class consisting

23     of all others who are similarly situated. Pursuant to Fed. R. Civ. P. 23(a) and (b)(2) and/or (b)(3),

24     Plaintiff seeks certification of a class initially defined as follows:

25              All consumers who, from November 6, 2009 until the date notice is disseminated to the

26              Class (the “Class Period”), purchased any of the following Celestial Seasonings Teas in

27              the United States: (1) Sleepytime Herbal Tea, (2) Sleepytime Kids Goodnight Grape,

28              (3) Green Tea Peach Blossom, (4) Green Tea Raspberry Gardens, (5) Authentic Green

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 1            Tea, (6) Antioxidant Max Dragon Fruit, (7) Green Tea Honey Lemon Ginseng, (8)

 2            Antioxidant Max Blackberry Pomegranate, (9) Antioxidant Max Blood Orange, and/or

 3            (10) English Breakfast Black KCup.

 4          30.       Excluded from the Class are Defendant and its subsidiaries and affiliates, Defendant’s

 5     executives, board members, legal counsel, the judges and all other court personnel to whom this case

 6     is assigned, their immediate families, and those who purchased the Products for the purpose of resale.

 7          31.       Numerosity. Fed. R. Civ. P. 23(a)(1). The Class is so numerous that joinder of all

 8     members is unfeasible and not practicable. While the precise number of Class members has not been

 9     determined at this time, Plaintiff is informed and believes that many thousands or millions of

10     consumers have purchased the Products.

11          32.       Commonality. Fed. R. Civ. P. 23(a)(2) and (b)(3). There are questions of law and fact

12     common to the Class, which predominate over any questions affecting only individual Class members.

13     These common questions of law and fact include, without limitation:

14                    a.     Whether Defendant uniformly conveyed to the class that the Products were

15                           “100% Natural;”

16                    b.     Whether Defendant’s claim that the Products are “100% Natural” is true or false

17                           or likely to deceive a reasonable consumer;

18                    c.     Whether Defendant violated California Civil Code §§ 1750, et seq.;

19                    d.     Whether Defendant violated California Business and Professions Code

20                           §§ 17200, et seq.;

21                    e.     Whether Defendant breached an express warranty;

22                    f.     Whether Defendant violated California’s Sherman Food, Drug, and Cosmetic

23                           Act, Cal. Health & Safety Code §§ 109875 et seq.;

24                    g.     Whether Defendant violated federal law including 21 U.S.C. § 346a and 40

25                           C.F.R. §§ 180 et seq.; and

26                    h.     The nature of the relief, including equitable relief, to which Plaintiff and the

27                           Class members are entitled.

28          33.       Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of the claims of the

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 1     Class. Plaintiff and all Class members were exposed to uniform practices and sustained injury arising

 2     out of and caused by Defendant’s unlawful conduct.

 3          34.       Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiff will fairly and

 4     adequately represent and protect the interests of the members of the Class. Plaintiff’s Counsel are

 5     competent and experienced in litigating class actions.

 6          35.       Superiority of Class Action. Fed. R. Civ. P. 23(b)(3). A class action is superior to

 7     other available methods for the fair and efficient adjudication of this controversy since joinder of all

 8     the members of the Class is impracticable. Furthermore, the adjudication of this controversy through a

 9     class action will avoid the possibility of inconsistent and potentially conflicting adjudication of the

10     asserted claims. There will be no difficulty in the management of this action as a class action.

11          36.       Injunctive and Declaratory Relief. Fed. R. Civ. P. 23(b)(2). Defendant’s

12     misrepresentations are uniform as to all members of the Class. Defendant has acted or refused to act

13     on grounds that apply generally to the Class, so that final injunctive relief or declaratory relief is

14     appropriate with respect to the Class as a whole.

15                                           FIRST CAUSE OF ACTION

16                (California Unfair Competition Law – Cal. Bus. & Prof. Code § 17200, et seq.)

17          37.       Plaintiff incorporates by reference and re-alleges the preceding paragraphs.

18          38.       Defendant engaged in unlawful, unfair, and/or fraudulent conduct under California’s

19     Unfair Competition Law (“UCL”), California Business & Professional Code § 17200, et seq., by

20     representing that the Products are “100% Natural,” when they are not.

21          39.       Defendant’s conduct is unlawful in that it violates the Consumers Legal Remedies Act,

22     California Civil Code §§ 1750, et seq.; California’s False Advertising Law, California Business &

23     Professions Code §§ 17500 et seq.; California’s Sherman Food, Drug, and Cosmetic Act (“Sherman

24     Law”), Cal. Health & Safety Code §§ 109875 et seq.; and federal law including 21 U.S.C. § 346a and

25     40 C.F.R. §§ 180 et seq.

26          40.       Defendant’s conduct is unfair in that it offends established public policy and/or is

27     immoral, unethical, oppressive, unscrupulous, and/or substantially injurious to Plaintiff and Class

28     members. The harm to Plaintiff and Class members arising from Defendant’s conduct outweighs any

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 1     legitimate benefit Defendant derived from the conduct. Defendant’s conduct undermines and violates

 2     the stated spirit and policies underlying the Consumers Legal Remedies Act, the False Advertising

 3     Law, and federal laws and regulations as alleged herein.

 4           41.      Defendant’s actions and practices constitute “fraudulent” business practices in violation

 5     of the UCL because, among other things, they are likely to deceive reasonable consumers. Plaintiff

 6     relied on Defendant’s representations and omissions.

 7           42.      As a direct and proximate result of Defendant’s violations, Plaintiff suffered injury in

 8     fact and lost money because she purchased the Products at the price she paid believing them to be

 9     100% natural when they were not.

10           43.      Plaintiff, on behalf of herself and Class members, seeks equitable relief in the form of

11     an order requiring Defendant to refund Plaintiff and all Class members all monies they paid for the

12     Products, and injunctive relief in the form of an order prohibiting Defendant from engaging in the

13     alleged misconduct and performing a corrective advertising campaign.

14                                        SECOND CAUSE OF ACTION

15                 (California False Advertising Law – Cal. Bus. & Prof. Code § 17500, et seq.)

16           44.      Plaintiff incorporates by reference and re-alleges the preceding paragraphs.

17           45.      Defendant publicly disseminated untrue or misleading advertising or intended not to

18     sell the Products as advertised in violation of California’s False Advertising Law (“FAL”), Business &

19     Professional Code § 17500, et seq., by representing that the Products are “100% Natural,” when they

20     are not.

21           46.      Defendant committed such violations of the False Advertising Law with actual

22     knowledge or in the exercise of reasonable care should have known was untrue or misleading.

23           47.      Plaintiff reasonably relied on Defendant’s representations and/or omissions made in

24     violation of California Business & Professional Code § 17500, et seq.

25           48.      As a direct and proximate result of Defendant’s violations, Plaintiff suffered injury in

26     fact and lost money.

27           49.      Plaintiff, on behalf of herself and Class members, seeks equitable relief in the form of

28     an order requiring Defendant to refund Plaintiff and all Class members all monies they paid for the

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 1     Products, and injunctive relief in the form of an order prohibiting Defendant from engaging in the

 2     alleged misconduct and performing a corrective advertising campaign.

 3                                         THIRD CAUSE OF ACTION

 4                                         (Breach of Express Warranty)

 5          50.       Plaintiff incorporates by reference and re-alleges the preceding paragraphs.

 6          51.       Plaintiff brings this claim individually and on behalf of the Class.

 7          52.       Plaintiff and each member of the Class formed a contract with Defendants at the time

 8     Plaintiff and the other members of the Class purchased one or more of the Products. The terms of that

 9     contract include the promises and affirmations of fact made by Defendant on the packaging of the

10     Products, as described above. The Products’ packaging constitutes express warranties, became part

11     of the basis of the bargain, and are part of a standardized contract between Plaintiff and the

12     members of the Class on the one hand, and Defendant on the other.

13          53.       All conditions precedent to Defendants’ liability under this contract have been

14     performed by Plaintiff and the Class.

15          54.       Defendant breached the terms of this contract, including the express warranties, with

16     Plaintiff and the Class by not providing the products that could provide the benefits promised, i.e.

17     that the Products were “100% Natural.”

18          55.       As a result of Defendant’s breach of its contract, Plaintiff and the Class have been

19     damaged in the amount of the purchase price of any and all of the Products they purchased.

20                                        FOURTH CAUSE OF ACTION

21                  (Violation of Consumers Legal Remedies Act – Civil Code § 1750, et seq.)

22          56.       Plaintiff incorporates by reference and re-alleges the preceding paragraphs.

23          57.       Plaintiff brings this claim individually and on behalf of the Class.

24          58.       This cause of action is brought pursuant to the Consumers Legal Remedies Act,

25     California Civil Code § 1750, et seq. (the “CLRA”) because Defendant’s actions and conduct

26     described herein constitute transactions that have resulted in the sale or lease of goods or services to

27     consumers.

28          59.       Plaintiff and each member of the Class are consumers as defined by California Civil

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 1     Code §1761(d). Defendant intended to sell the Products.

 2          60.       The Products are goods within the meaning of Civil Code §1761(a).

 3          61.       Defendant violated the CLRA in at least the following respects:

 4                    a. in violation of §1770(a)(2), Defendant misrepresented the source of the Products as

 5                        “100% Natural,” when they contained Contaminants that are not natural;

 6                    b. in violation of §1770(a)(5), Defendant represented that the Products have

 7                        characteristics, ingredients, and benefits (100% Natural) which they do not have

 8                        (because they contain Contaminants that are not natural);

 9                    c. in violation of §1770(a)(7), Defendant represented that the Products are of a

10                        particular standard, quality or grade (“100% Natural”) when they are of another

11                        (containing Contaminants that are not natural);

12                    d. in violation of §1770(a)(9), Defendant has advertised the Products (as “100%

13                        Natural”) with intent not to sell them as advertised (containing Contaminants that

14                        are not natural); and

15                    e. in violation of §1770(a)(16), Defendant represented that the Products have been

16                        supplied in accordance with previous representations (as “100% Natural”) , when

17                        they were not (because they contained Contaminants that are not natural).

18          62.       Defendant violated the Act by representing the Products as “100% Natural,” when the

19     Products contained Contaminants that were not natural. Defendant knew, or should have known, that

20     the representations and advertisements were false and misleading.

21          63.       Defendant’s acts and omissions constitute unfair, deceptive, and misleading business

22     practices in violation of Civil Code §1770(a).

23          64.       On November 6, 2013, Plaintiff notified Defendant in writing, by certified mail, of the

24     violations alleged herein and demanded that Defendant remedy those violations.

25          65.       If Defendant fails to remedy the violations alleged herein within 30 days of receipt of

26     Plaintiff’s notice, Plaintiff will amend this Complaint to add claims for actual, punitive, and statutory

27     damages pursuant to the CLRA.

28          66.       Defendant’s conduct is malicious, fraudulent, and wanton in that Defendant

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 1     intentionally and knowingly provided misleading information to the public.

 2                                                JURY DEMAND

 3            Plaintiff demands a trial by jury of all claims in this Complaint so triable.

 4                                           REQUEST FOR RELIEF

 5            WHEREFORE, Plaintiff, individually and on behalf of the other members of the Class

 6     proposed in this Complaint, respectfully requests that the Court enter judgment in his favor and against

 7     Defendant, as follows:

 8            A.      Declaring that this action is a proper class action, certifying the Class as requested

 9     herein, designating Plaintiff as Class Representative and appointing the undersigned counsel as Class

10     Counsel;

11            B.      Ordering Defendant to pay actual damages (and no less than the statutory minimum

12     damages), restitution and equitable monetary relief to Plaintiff and the other members of the Class;

13            C.      Ordering Defendant to pay punitive damages, as allowable by law, to Plaintiff and the

14     other members of the Class;

15            D.      Ordering Defendant to pay statutory damages, as allowable by the statutes asserted

16     herein, to Plaintiff and the other members of the Class;

17            E.      Awarding injunctive relief as permitted by law or equity, including enjoining

18     Defendant from continuing the unlawful practices as set forth herein, and ordering Defendant to

19     engage in a corrective advertising campaign;

20            F.      Ordering Defendant to pay attorneys’ fees and litigation costs to Plaintiff and the other

21     members of the Class;

22            G.      Ordering Defendant to pay both pre- and post-judgment interest on any amounts

23     awarded; and

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 1           H.    Ordering such other and further relief as may be just and proper.

 2

 3     Dated: November 6, 2013                   Respectfully submitted,
                                                 AHDOOT & WOLFSON, PC
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 6                                               Tina Wolfson
                                                 Robert Ahdoot
 7                                               Theodore W. Maya
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                                                 Tel: 310-474-9111
10                                               Facsimile: 310-474-8585

11                                               Counsel for Plaintiff,
                                                 Tatiana Von Slomski
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 1                                     AFFIDAVIT OF TINA WOLFSON

 2            I, Tina Wolfson, declare as follows:

 3            1.      I am an attorney with the law firm of Ahdoot & Wolfson, P.C., counsel for Plaintiff

 4     Tatiana Von Slomski (“Plaintiff”) in this action. I am admitted to practice law in California and

 5     before this Court, and am a member in good standing of the State Bar of California. This declaration

 6     is made pursuant to California Civil Code section 1780(d). I make this declaration based on my

 7     research of public records and upon personal knowledge and, if called upon to do so, could and would

 8     testify competently thereto.

 9            2.      Based on my research and personal knowledge, Defendant The Hain Celestial Group,

10     Inc. (“Defendant”) does business within the County of Los Angeles and Plaintiff purchased

11     Defendant’s products within the County of Los Angeles, as alleged in the Class Action Complaint.

12            I declare under penalty of perjury under the laws of the United States and the State of

13     California this 6th day of November, 2013 in Los Angeles, California that the foregoing is true and

14     correct.

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16                                                         ______________________________
                                                           Tina Wolfson
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